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                               Case No. 22-3952


              IN THE UNITED STATES COURT OF APPEALS
                           FOR THE SIXTH CIRCUIT
                     _______________________________
                                  JOHN KOE,
                              Plaintiff-Appellant,
                                       v.
        UNIVERSITY HOSPITALS HEALTH SYSTEM, INC., et al.
                             Defendants-Appellees.
                     _______________________________
On Appeal From The United States District Court for the Northern District of Ohio
            Case No. 1:22-cv-1455-DAP, Judge Dan Aaron Polster


                            APPELLEES’ BRIEF


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                     STATEMENT OF ORAL ARGUMENT

         Appellees University Hospitals Health Systems, Inc. (“UHHS”) and

University Hospitals Cleveland Medical Center (“UHCMC”) (UHHS and UHCMC

are collectively, “Appellees”) do not believe that oral argument is necessary or

helpful for this Court to determine the merits of Appellant John Koe’s (“Appellant”)

appeal (the “Appeal”).

I.       STATEMENT OF ISSUES

         1.    Whether it was proper for the United States District Court (the “District

Court”) to issue a Memorandum Opinion and Order (the “Dismissal Order”)

granting Appellees’ motion to dismiss (the “Motion to Dismiss”) and thereby

dismissing Appellant’s Complaint for             Employment Discrimination (the

“Complaint”) based on well-established Sixth Circuit precedent that prohibits a

plaintiff from commencing an action anonymously without first seeking permission

and approval from the court.

         2.    Whether the District Court properly granted Appellees’ Motion for a

Protective Order Seeking an Order that Requires Appellant to Communicate Only

with Appellees’ Counsel of Record with Respect to this Litigation (the “Motion for

Protective Order”) and thereby issuing a Protective Order (the “Protective Order”)

following Appellant’s highly inappropriate comments and communications to

Appellees and Appellees’ employees and faculty.


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         3.    Whether the District Court’s certification in the Order pursuant to 28

U.S.C. § 1915(a)(3) that Appellant could not proceed in forma pauperis for purposes

of an appeal was appropriate.

         4.    Whether the District Court’s Dismissal Order (the “Reconsideration

Order”) denying Appellant’s motion for reconsideration (the “Motion for

Reconsideration”) is appropriate where Appellant failed to satisfy the requirements

for reconsideration pursuant to Rule 59 of the Federal Rules of Civil Procedure.

II.      STATEMENT OF THE CASE

         The Appeal seeks review of three orders issued by the District Court in Koe

v. University Hospitals Health System, Inc., et al. (the “District Court Matter”): (1)

the Dismissal Order; (2) the Protective Order; and (3) the Reconsideration Order.

         Appellant is a former participant in Appellees’ residency program. Over the

past several years, Appellant has engaged in an ongoing attack against Appellees

and Appellees’ counsel that has included the filing of dozens of charges with the

Ohio Civil Rights Commission, the Equal Employment Opportunity Commission,

the National Labor Relations Board, the Department of Labor, and the Department

of Health and Human Services. The charges all arise out of the same issues and

allegations set forth in this matter. Some of the charges have also named Appellees’

in-house counsel and outside counsel signing this brief as respondents who have

somehow engaged in unlawful activity toward Appellant. To date, no charge filed


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by Appellant has been determined to have merit. Rather, most have been dismissed

and Appellant is currently in the process of appealing those dismissals. One of the

appeals – an appeal with the Ohio Civil Rights Commission – involved oral

argument and a decision from the commission determining that Appellant’s charge

was without merit and that Appellant was not qualified to be a resident physician in

Appellees’ psychiatry residency program – an issue directly defeating the underlying

claims in this matter.

         Appellant has proceeded aggressively and by using his true name and identity

throughout the charge process with the many different agencies.              However,

Appellant commenced this lawsuit by filing the Complaint anonymously and then

continuing his attack upon Appellees’ officers, employees, and counsel with highly

inappropriate, direct communications while the Complaint remained pending with

the District Court.

         Relevant to this Appeal, Appellees filed their Motion to Dismiss the

Complaint on the grounds that Appellant failed to obtain approval from the District

Court to proceed anonymously. Appellees also filed a Motion for Protective Order

to preclude Appellant from continuing in his highly inappropriate direct

communications with Appellees’ officers and employees.




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         The District Court issued its Protective Order first, granting Appellees’ relief

from Appellant’s highly inappropriate conduct. The Protective Order was based

upon Rule 26(c)(1) and firmly supported by the facts.

         The District Court subsequently issued its Dismissal Order, properly

determining that Appellant improperly commenced the Complaint anonymously,

thereby divesting the District Court of jurisdiction, rendering dismissal appropriate.

The District Court certified in the Dismissal Order that any appeal thereof could not

be made in good faith pursuant to 28 U.S.C. § 1915(a)(3).

         Following the Dismissal Order and Protective Order, Appellant filed the

Motion for Reconsideration. As set forth more fully herein, the Motion for

Reconsideration failed to include any argument or evidence to support modifying

the Dismissal Order or Protective Order and, therefore, the District Court properly

denied the Motion for Reconsideration.

         As set forth herein, the Dismissal Order, Protective Order, and

Reconsideration Order should be affirmed.

         A.    The Complaint And Motion To Dismiss.

         Appellant filed the Complaint on August 15, 2022. (Complaint, RE 1, PageID

# 1). Attempting to proceed anonymously, Appellant clearly planned in advance of

the filing because the Complaint includes a post office box and an anonymous email

address. (Id.).


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         The Complaint alleges claims under Title VII and the ADA. (Complaint, RE

1, PageID # 3). Specifically, Appellant alleges Appellees discriminated against him

based on his sex and disability. (Complaint, RE 1, PageID # 4). The Complaint

alleges that Appellant filed a charge of discrimination prior to filing the Complaint,

but the charge is not attached. (Complaint, RE 1, PageID # 12). The Complaint

further alleges a right-to-sue letter was issued by the EEOC on May 17, 2022, but

the right-to-sue letter is also not attached to the Complaint despite the fact the

Court’s standard form directs Appellant to attach the right to sue letter. (Id.).

Because the sworn charge is not attached to the Complaint, it is impossible for

Appellees to determine Appellant’s sex, age, disability status or any other protected

category. (Id.).

         Based on the statement of facts, Appellant was a resident in a medical

residency program associated with Case Western Reserve University. (Complaint,

RE 1, PageID # 3 and 6). Although Appellant will not disclose his or her name, the

Complaint identifies many other individuals who are associated with the residency

program by name. (Complaint, RE 1, PageID # 7-12). The Complaint also provides

specific facts regarding Appellant’s medical license, dates of employment, type of

specialty, and date of termination that any third party could identify Appellant’s true

identity without much effort. (Complaint, RE 1, PageID # 6-12).




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         Appellees filed a motion to dismiss the Complaint. (Motion To Dismiss, RE

#3). The Motion to Dismiss sought to dismiss the Complaint on the grounds that

Appellant failed to timely commence the lawsuit with the District Court and failed

to follow the procedures with respect to seeking to file a complaint anonymously.

(Id.). Appellant did not oppose the motion to dismiss. (See generally, District Court

docket).

         B.    Appellees Filed The Motion For Protective Order To Stop
               Appellant From Continuously Harassing Appellees Through
               Highly Inappropriate Communications.
               1.    Appellant Has Abused The Legal System To Harass
                     Appellees Through The Filing Of Dozens Of Frivolous And
                     Unsuccessful Charges.
         Before filing this lawsuit, Appellant filed numerous charges with state and

federal agencies against Appellees. (Motion for Protective Order, RE 5, PageID #

42 and 54). Although proceeding anonymously in this lawsuit, Appellant did not

file the charges anonymously; rather, he used his true identity. (Id.). Appellant

aggressively pursued those charges by contacting Appellees’ employees to discuss

his claims, to discuss the employees’ testimony, and to seek admissions in favor of

Appellant. (Id.).

         Many of Appellees’ employees reported feeling harassed by Appellant’s

contacts. (Motion for Protective Order, RE 5, PageID # 42 and 54). As a result of




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the employee complaints, on December 2, 2021, Appellees’ counsel sent a cease and

desist letter to Appellant. (Id.). Relevant to this matter, the letter stated:

               The purpose of this letter is to formally demand that you
               cease and desist your communications and contact with
               UH employees. All employers have a duty under federal
               and state occupational safety and health statutes, as well
               as under the common law, to provide a safe workplace.
               Employers also have a common law duty to exercise
               reasonable care to avoid the risk of injury to third parties.
               This letter lays out the many attempts that UH has taken
               to permit you to obtain information from UH, but to
               protect UH employees from your harassment. However,
               those attempts have failed and this letter serves as formal
               notice that if you don’t comply with the terms of this letter
               that UH will have no choice but to initiate court
               proceedings to enjoin you from further contact with UH or
               its employees.

(Motion for Protective Order, RE 5, PageID # 42 and 58-63).

         The cease and desist letter did not stop Appellant’s direct communications to

Appellees’ employees. (Motion for Protective Order, RE 5, PageID # 42 and 25).

To the contrary, Appellant filed multiple charges arising out of the letter and

increased his contacts with Appellees’ employees. (Motion for Protective Order, RE

5, PageID # 42 and 56). In fact, Appellant has taken direct actions to attempt to

damage Appellees’ residency program since the cease and desist letter was issued.

(Motion for Protective Order, RE 5, PageID # 42 and 56). On one occasion, days

before medical students ranked residency programs for matching, Appellant posted

a false and disparaging statement on social media anonymously that included


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Appellant’s charges that clearly identified him. (Motion for Protective Order, RE 5,

PageID # 42 and 56). The posting was clearly intended to negatively impact the

residency program’s ranking by medical students. (Motion for Protective Order, RE

5, PageID # 42 and 56).

         Most recently, the residency program participated in a Midwest Zoom

recruiting conference where residents were supposed to move from Zoom room to

room after spending thirty minutes with selected residency program. (Motion for

Protective Order, RE 5, PageID # 42 and 56). Incredibly, Appellant attended the

conference under his true identity and proceeded to remain in Appellees’ zoom room

for the entire program. (Motion for Protective Order, RE 5, PageID # 42 and 56).

Appellant’s attendance in the same zoom room for the length of the program was

clearly meant to intimidate and frustrate the presenter who, in this instance, was

Appellant’s Program Director while he was participating in Appellees’ residency

program. (Motion for Protective Order, RE 5, PageID # 42 and 56).

               2.    The  Number      And     Substance  Of     Appellant’s
                     Communications Since Filing The Complaint.
         Since the filing of Appellees’ Motion to Dismiss with the District Court and

the issuance of the Dismissal Order, the District Court was advised that Appellant

had communicated with Appellees regarding this lawsuit as follows: (1) eighteen

emails under Appellant’s normal email address that were sent to both of Appellees’

counsel of record that are copied to Appellees’ Chief Legal Officer; (2) four emails

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sent to only one of Appellees’ counsel of record with a copy to Appellees’ Chief

Legal Officer; (3) two emails to Appellees’ counsel of record copying Appellees’

Chief Legal Officer via the anonymous email listed on the Complaint; and (4) an

unknown number of emails, phone calls and texts directly to Appellees’ employees

without a copy to Appellees’ counsel of record. (Motion for Protective Order, RE

5, PageID # 42 and 53).

         The emails sent by Appellant are inappropriate. (Motion for Protective Order,

RE 5, PageID # 42, 54, and 68-93). For example, Appellant sent a snide email

directly to one of Appellees’ employees attacking the employee’s grammar usage,

suggesting an article on “professional development”, and making a comment that

the alleged grammatical issue was the result of sleep deprivation: “I recall you were

very sleep deprived and stressed at the time…” (Id.).

         Another email from Appellant directly to one of Appellees’ employees was

sent to intimidate the employee regarding individual liability under Ohio law,

encourage the employee to distance himself from Appellees’ legal representation,

and suggested that the employee obtain individual counsel:

               “Please be aware that the hospital legal team or their
               outside counsel does not represent you barring explicit
               approval from the Board of Directors…as it appears some
               people are under the impression that Ohio law did away
               with individual liability in employment law and the OCRC
               is not updated online, you should read HB 352 from last
               session noting very carefully the remarks about


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               Genaro…Highly suggest reviewing with your own
               attorney.”
(Motion for Protective Order, RE 5, PageID # 42, 54, and 68-93).

         Appellant’s emails also directly attack Appellees’ counsel, David Campbell,

accusing him of fraud, discrimination, and other false conduct. (Motion for

Protective Order, RE 5, PageID # 42, 54-55, and 68-93). For example, Appellant

stated the following about Mr. Campbell in an email sent directly to UHHS’ Chief

Legal Officer:

               “note my sympathy to the issue regarding a subjective
               statement that could bind UH by an individual [David
               Campbell] who has exhibited discriminatory animus; also
               note my explicitly identification of the fraudulently altered
               documents), I am, unlike Mr. Campbell, not bound strictly
               by the Rules of Professional Conduct (e.g. Rule 4.2).”
(Motion for Protective Order, RE 5, PageID # 42, 55, and 68-93).

         Appellant’s comments were clearly meant to drive a wedge between Mr.

Campbell and Appellees in an effort to have Appellees replace Mr. Campbell as

counsel in this matter:

               “The fact that Mr. Campbell is personally implicated
               presents a substantial conflict of interest or at the very least
               the appearance of a conflict of interest. While it is not my
               place to second guess UH’s business judgment in terms of
               its desired legal representation, I maintain that Mr.
               Campbell’s continued involvement is at the very least
               prejudicial [to] UH’s interests and efficient resolution in
               this matter. Please identify an alternative contact for UH
               given the need to contact UH directly.”
(Motion for Protective Order, RE 5, PageID # 42, 55, and 68-93).
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         Indeed, Appellant has gone so far as to threaten UHHS’ Chief Legal Officer,

legal team, and UHCMC staff that Mr. Campbell’s involvement in this lawsuit is

grounds for additional discrimination and retaliation claims:

               “Would it really serve to effect the purpose of the laws that
               protected civil rights if Employers or Covered Entities
               were free to act with impunity by hire a dirtbag attorney to
               retaliate on their behalf.”
(Motion for Protective Order, RE 5, PageID # 42, 55, and 68-93).

         Appellant’s conduct is inappropriate, insulting, malicious, and, at times, has

suggested that Mr. Campbell’s continued involvement in this matter will result in

further inappropriate conduct from Appellant: “So come on and chickity-check yo’

self before you wreck yo’ self.” (emphasis in original); “Play stupid games, win

stupid prizes appears to be apropos.” (Motion for Protective Order, RE 5, PageID #

42, 56, and 68-93).

         Prior to filing the Motion for Protective Order, Appellees’ counsel emailed

Appellant and asked him to only communicate with Appellees’ counsel of record

regarding the lawsuit. (Motion for Protective Order, RE 5, PageID # 42 and 53).

Appellant refused the request and threatened to file disciplinary charges against

Appellees’ counsel of record. (Motion for Protective Order, RE 5, PageID # 42 and

53 and 58-63).

         Due to the highly inappropriate communications of Appellant and left with no

other options to protect their employees from Appellant’s harassing behavior,

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Appellees filed the Motion for Protective Order on October 10, 2022. (Motion for

Protective Order, RE 5). The motion for a protective order sought to obtain a

protective order due to the many inappropriate communications sent from Appellant

to Appellees’ officers and employees. (Id.).

         C.    The Dismissal Order And The Protective Order.

         The District Court issued the Protective Order on October 11, 2022.

(Protective Order, RE 6). The Protective Order was based upon the evidence

presented by Appellees in the Motion for Protective Order and the attached

declaration of counsel. (Id., PageID # 94). The District Court relied upon Civ. R.

26(c)(1) to issue the Protective Order, as “[Rule 26] permits a court to ‘issue an order

to protect a party or person from annoyance, embarrassment, oppression, or undue

burden or expense.’” (Id.).

         Ultimately, the District Court determined that Appellees’ conduct warranted

a protective order pursuant to Rule 26:

               “Defendants have presented sufficient facts and evidence
               in both the Motion and the declaration of David Campbell
               attached thereto, demonstrating consistent and routine
               inappropriate communications from pro se Plaintiff John
               Koe directly to various employees of Defendants. Such
               direct communications support a Rule 26(c)(1) protective
               order in favor of Defendants.”
(Id., PageID # 95).




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         Based on this determination, the District Court issued an order which “(1)

prohibits pro se Plaintiff John Koe from communicating directly with Defendants’

officers, Defendants’ employees, and Defendants’ affiliates; and (2) ordering pro se

Plaintiff John Koe to direct all communications to Defendants’ counsel of record.

(Id.).

         On October 13, 2022, the District Court issued the Dismissal Order.

(Dismissal Order, RE 7). The Dismissal Order granted Appellee’s motion to dismiss

and denied Appellant’s motion to proceed anonymously. (ECF # 7). Relevant to this

Motion, the District Court’s Dismissal Order dismissed Appellant’s Complaint

without prejudice. (ECF # 7 at 6). Indeed, the District Court’s Dismissal Order did

not terminate the action. (ECF # 7). Rather, the Dismissal Order merely dismissed

the complaint to provide Appellant with the opportunity to file an amended

complaint to cure the jurisdictional issue:

               “If Plaintiff wishes to continue this case, he must within
               fourteen (14) days of the entry of this order: (1) file a
               motion to reopen the case; and (2) file an amended
               complaint identifying himself.”
(ECF # 7 at 6).

         The Dismissal Order also certified that any appeal of the Dismissal Order

could not be taken in good faith for purposes of proceeding in forma pauperis on

appeal. (ECF # 7 at 6).



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         D.       Rather Than Refile His Case And Proceed Under His True Name,
                  Appellant Filed A Rule 59 Motion And Subsequently, This Appeal.
         Appellant did not file a motion to reopen the case or otherwise file an amended

complaint identifying himself. (See District Court docket). Rather, Appellant filed

the Motion for Reconsideration. (Motion for Reconsideration, RE 9). The Motion

for Reconsideration addressed the Court’s Dismissal Order and Protective Order.

(Id.).        Appellant’s Motion for Reconsideration presented new arguments and

allegations that were not addressed with the District Court in response to the Motion

to Dismiss or the Motion for Protective Order. (Id.). Indeed, the Motion for

Reconsideration was simply an attempt to relitigate his Complaint with the District

Court – it did not identify any reason supporting relief from judgment. (Id.).

         On November 10, 2022, the District Court issued its Reconsideration Order

denying Appellant’s motion. (Reconsideration Order, RE 10). Importantly, the

Court recognized Appellant’s faulty Motion for Reconsideration as simply a second

chance to litigate his Complaint and, therefore, held that “Plaintiff’s motion fails to

demonstrate any of the above circumstances that would warrant altering the Court’s

judgment granting the protective order or dismissing his complaint.”

(Reconsideration Order, RE 10, PageID # 126).

         E.       Appellant’s Brief.

         Appellant filed the Appellant Brief on October 17, 2023. (ECF # 27). The

Appellant Brief is a mere nine pages in length. (Id.). In the Appellant Brief,

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Appellant concedes that he does not have evidence or argument supporting any

finding that the District Court misapplied the facts at issue in the Dismissal Order,

Protective Order, or Reconsideration Order. (Appellant Brief at 1).

         As to argument, Appellant raises three issues. First, as to the Dismissal Order,

Appellant argues that the District Court’s dismissal without prejudice was, in fact, a

dismissal with prejudice because Appellees could hypothetically file a motion to

dismiss based upon the argument that any refiled complaint would be time-barred.

(Appellant Brief at 4).

         Second, as to the Protective Order, Appellant concedes that the District Court

does not have jurisdiction over the Complaint. (Appellant’s Brief at 7). Specifically,

Appellant concedes that his Complaint involved a “labor dispute” and that “district

courts lack the power to grant injunctive relief in the context of a labor dispute”

without first complying with the Norris-LaGuardia Act. (Appellant’s Brief at 7). In

fact, Appellant alleges in the Motion for Reconsideration that “this case arises from

a labor dispute and plaintiff is a person participating or interested in the labor as

defined by the Norris LaGuardia Act.” (Motion for Reconsideration, RE 9, PageID

# 117). Indeed, Appellant’s Complaint includes many citations to ongoing labor

disputes and seeks the District Court to provide relief on behalf of a group of

employees in “concert.” (Complaint, RE 1, PageID # 13).




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         Finally, Appellant argues that the District Court’s granting of the Protective

Order without opposition from Appellant was somehow an abuse of discretion.

(Appellant’s Brief at 5).

         Appellant does not present any argument with respect to the Reconsideration

Order or the District Court’s certification in the Dismissal Order that Appellant could

not proceed on appeal in forma pauperis in good faith. (See generally, Appellant’s

Brief).

III.     SUMMARY OF THE ARGUMENT

         As set forth above, this Appeal seeks review of the following three orders

issued by the District Court: (1) the Dismissal Order; (2) the Protective Order; and

(3) the Reconsideration Order. All three orders should be affirmed.

         As an initial matter, Appellant concedes in the Appellant Brief that this matter

arises out of a labor dispute concerning an alleged unfair labor practice and concerted

activities. It is the well-established principle that “[w]hen an activity is arguably

subject to § 7 or § 8 of the [National Labor Relation Act], the States as well as the

federal courts must defer to the exclusive competence of the National Labor

Relations Board…” San Diego Bldg. Trade Council v. Garmon, 359 U.S. 236, 245

(1959). Accordingly, Appellant’s Complaint is preempted by Garmon and must be

dismissed for lack of jurisdiction.




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         Assuming, arguendo, that Garmon Preemption does not apply, the Appeal

nonetheless fails on the merits.

         As to the Dismissal Order, it is reviewed de novo by this Court. Appellant

filed his Complaint anonymously and without first seeking or obtaining a protective

order from the District Court to do so. Appellant has also filed this Appeal using a

pseudonym and has not sought a protective order from this Court to do so.

Importantly, where an Appellant fails to obtain permission to proceed anonymously

with the District Court or otherwise comply with the filing requirements pertaining

to a true identity, any appeal therefrom must be dismissed for lack of jurisdiction.

See Citizens for a Strong Ohio v. Marsh, 123 Fed. Appx. 630, 637 (6th Cir. 2005)

(“[f]ailure to seek permission to proceed under a pseudonym is fatal to an

anonymous plaintiff’s case…”). Accordingly, the Dismissal Order was appropriate

and the District Court’s certification pursuant to 28 U.S.C. § 1915(a)(3) should be

affirmed.

         As to the Protective Order, it is reviewed under an abuse of discretion review.

The District Court issued the Protective Order relying upon Fed. R. Civ. P. 26(c)(1).

The Protective Order is supported by evidence establishing that Appellant was

engaging in highly inappropriate direct communications with Appellees’ officers

and employees while the District Court Matter remained pending. The District

Court’s Protective Order was appropriate and supported by the facts. Appellant has


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failed to present any evidence that the Protective Order was the result of an abuse of

discretion by the District Court and, therefore, the Protective Order should be

affirmed.

         Finally, Appellant fails to raise any arguments concerning the

Reconsideration Order and the District Court’s 28 U.S.C. § 1915(a)(3) certification.

Accordingly, Appellant has waived these issues on appeal. See Jones v. Gobbs, 21

Fed. App’x 322, 323 (6th Cir. 2001).

         Therefore, the Dismissal Order, Protective Order, and Reconsideration Order

should be affirmed and this matter be dismissed.

IV.      ARGUMENT

         A.    Standard Of Review.

         Appellant does not address or otherwise apply a standard of review in the

Appellant Brief. Appellant raises several different issues all with different standards

of review. As to the District Court’s Dismissal Order, appellate courts review

dismissals for lack of jurisdiction de novo. See Parchman v. SLM Corp., 896 F.3d

728, 734 (6th Cir. 2018); see also Nichols v. Muskingum College, 318 F.3d 674, 677

(6th Cir. 2003). The plaintiff bears the burden of establishing the court’s jurisdiction

when faced with a motion to dismiss for lack of jurisdiction. See Nichols v.

Muskingum College, 318 F.3d 674, 677 (6th Cir. 2003). The Court may consider




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the pleadings and evidence outside of the pleadings in determining whether

jurisdiction exists for purposes of a matter. Id.

         As to the Protective Order and the Reconsideration Order appellate courts

review such decisions under the higher abuse of discretion standard. See ACLU of

Ky. V. McCreary Cty., 607 F.3d 439, 450 (6th Cir. 2010); see also Coleman v.

American Red Cross, 979 F.2d 1135, 1138 (6th Cir. 1992). A district court’s order

will be reversed under the abuse of discretion standard only if the appellate court

finds that the district court relied upon clearly erroneous findings of fact, or when it

improperly applies the law or uses an erroneous legal standard. Pittman v. Experian

Info. Solutions, Inc., 901 F.3d 619, 640. (6th Cir. 2018).

         B.    Appellant Has Waived His Appeal With Respect To The
               Reconsideration Order And 28 U.S.C. § 1915(a)(3) Certification.
         “In order to preserve appellate review of an issue, a party is required to address

the issue in the appellate briefing.” Bolden v. City of Euclid, 595 Fed. Appx. 464,

467 (6th Cir. 2014). Importantly, a party who fails to argue an issue in their brief

waives the issue on appeal. Id.

         As set forth above, Appellant failed to address or otherwise present argument

concerning the Reconsideration Order and the District Court’s certification pursuant

to 28 U.S.C. § 1915(a)(3). Accordingly, Appellant has waived these issues on appeal

and this Court should uphold the District Court’s decision. See Bolden v. City of

Euclid, 595 Fed. Appx. 464, 467 (6th Cir. 2014).

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         Assuming, arguendo, that Appellant has not waived these issues – which he

has – these issues nonetheless fail on appeal. First, as to 28 U.S.C. § 1915(a)(3),

Appellant fails to provide any authority that this issue an issue that may be appealed

from a district court, and Appellee is unaware of such authority.

         Second, as to the Reconsideration Order, the Motion for Reconsideration fails

to address or otherwise provide any argument or facts showing that the Dismissal

Order and Protective Order were the results of clear errors of law, an intervening

change in the law, newly discovered evidence, or a showing of manifest injustice.

See Jones v. Gobbs, 21 Fed. App’x 322, 323 (6th Cir. 2001). The District Court

properly made this determination and correctly ruled that Appellant’s Motion for

Reconsideration was nothing more than a second chance at relitigating this matter.

Accordingly, the Reconsideration Order should be affirmed.

         C.    Appellant Concedes That The Complaint Should Be Dismissed For
               Lack Of Jurisdiction Due To Garmon Preemption.
         Garmon preemption is the well-established principle that “[w]hen an activity

is arguably subject to § 7 or § 8 of the [National Labor Relation Act], the States as

well as the federal courts must defer to the exclusive competence of the National

Labor Relations Board…” San Diego Bldg. Trade Council v. Garmon, 359 U.S. 236,

245 (1959). Indeed, courts within the Sixth Circuit routinely dismiss matters for

lack of subject matter jurisdiction where the underlying claims involve an alleged

unfair labor practice, concerted activity, or are otherwise governed by the National

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Labor Relations Act. See Baize v. Phillip Morris, Inc., 120 Fed. Appx. 576, 580 (6th

Cir. 2004).

         Here, Appellant concedes that his Complaint involved a “labor dispute” and

that “district courts lack the power to grant injunctive relief in the context of a labor

dispute” without first complying with the Norris-LaGuardia Act. (Appellant’s Brief

at 7). In fact, Appellant alleges in the Motion for Reconsideration that “this case

arises from a labor dispute and plaintiff is a person participating or interested in the

labor as defined by the Norris LaGuardia Act.” (Motion for Reconsideration, RE 9,

PageID # 117). Indeed, Appellant’s Complaint includes many citations to ongoing

labor disputes and seeks the District Court to provide relief on behalf of a group of

employees in “concert.” (Complaint, RE 1, PageID # 13).

         Appellant fails to raise any evidence or argument that his Complaint can

somehow survive full preemption.             Accordingly, Appellant concedes that

jurisdiction with the District Court is inappropriate and this Appellate Court should

affirm the Dismissal Order.

         D.    The Dismissal Order Should Be Affirmed.
               1.    The Sixth Circuit’s Commencement Standard.

         Pursuant to Rule 3, an action is commenced “by filing a complaint with the

court.” Fed. R. Civ. P. 3. To be a valid complaint that complies with Rules 7 and

10, “[t]he title of the complaint must name all the parties; the title of other pleadings,


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after naming the first party on each side, may refer generally to other parties.” Fed.

R. Civ. P. 10(a); Doe v. Porter, 370 F.3d 558, 560 (6th Cir. 2004).

         Courts have uniformly established that “it is the litigant seeking to proceed

under pseudonym that bears the burden to demonstrate a legitimate basis for

proceeding in that manner.” Qualls v. Rumsfeld, 228 F.R.D. 8, 13 (D.D.C. 2005).

The Tenth Circuit Court of Appeals has long held that a plaintiff must make a

“request to the district court for permission to proceed anonymously.” Nat’l

Commodity & Barter Ass’n Nat’l Commodity Exch. v. Gibbs, 886 F.2d 1240, 1245

(10th Cir. 1989). The Tenth Circuit has further held that “[a]bsent permission, the

district court lacks ‘jurisdiction over the unnamed parties, as a case has not been

commenced with respect to them.’” Oklahoma v. Biden, 577 F.Supp.3d 1245, 1251-

1252 (W.D. Ok. 2021) (citing W.N.J. v. Yocum, 257 F.3d 1171, 1172-1173 (10th

Cir. 2001)).

         In Citizens for a Strong Ohio v. Marsh, 123 Fed. Appx. 630, 637 (6th Cir. Jan.

3, 2005), the Sixth Circuit adopted the Tenth Circuit’s longstanding anonymous

pleading standard set forth in Nat’l Commodity & Barter Ass’n Nat’l Commodity

Exch. v. Gibbs, 886 F.2d 1240, 1245 (10th Cir. 1989). Marsh, 123 Fed. Appx. at

637. The Marsh lawsuit was filed by two named plaintiffs and “various anonymous

parties.” Id. at 631. Relevant to this Brief, the district court in Marsh granted a

motion to dismiss the claims asserted by the anonymous parties. Id. On appeal, the


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Marsh court affirmed the dismissal of the claims asserted by the anonymous parties.

Id.

         The Marsh court’s analysis is equally applicable to this case. Id. at 636-637.

The Marsh court reasoned that permitting a John Doe to assert such a claim may

permit a party to find an “easy way” to circumvent legal standards that are applicable

to identified plaintiffs. Id. at 636. The Court further reasoned that “[o]rdinaily, a

plaintiff wishing to proceed anonymously files a protective order that allows him or

her to proceed under a pseudonym.” Id. More importantly, “[f]ailure to seek

permission to proceed under a pseudonym is fatal to an anonymous plaintiff’s case.

. . .” Id. The Court finally held, based on the Tenth Circuit’s holding in Nat’l

Commodity & Barter Ass’n Nat’l Commodity Exch. v. Gibbs, 886 F.2d 1240, 1245

(10th Cir. 1989), that a “‘federal court[] lack[s] jurisdiction over the unnamed

parties’” because the anonymous plaintiff did not “commenc[e]” the lawsuit. Marsh,

123 Fed. Appx. at 637 (citing Gibbs, 886 F.2d at 1245 (10th Cir. 1989)).

         More recently, in Ericksen v. United States, Case No. 17-1526, 2017 U.S.

App. LEXIS 22511 *2 (6th Cir. Sept. 12, 2017), the Sixth Circuit again reaffirmed

its prior holding that the "‘[f]ailure to seek permission to proceed under a pseudonym

is fatal to an anonymous plaintiff's case . . . .’" Id. at *2 (quoting Marsh, 123 F.

Appx. at 637)). In addition, numerous federal courts have dismissed anonymously

filed complaints based on the Tenth Circuit’s analysis that has been adopted by the


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Marsh court. W.N.J. v. Yocom, 257 F.3d 1171, 1172-1173 (10th Cir. 2001) (finding

no jurisdiction where plaintiffs did not obtain district court's permission to proceed

using initials); M.A.C. v. Gildner, 853 F. Appx. 207 (10th Cir. 2021) (explaining that

this holding "is still the law of the circuit" and affirming the district court's sua sponte

dismissal for lack of subject-matter jurisdiction where a plaintiff did not seek leave

to proceed anonymously); Barth v. Kaye, 178 F.R.D. 371, 376 (N.D.N.Y. 1998)

(refusing to allow plaintiff to proceed anonymously where plaintiff, "failed to even

request the privilege of proceeding anonymously, let alone make a showing that his

factual situation warrants this special treatment"); Estate of Rodriquez v. Drummond

Co., Inc., 256 F.Supp. 2d 1250 (N.D. Ala. 2003) (holding that court lacked

jurisdiction over unnamed plaintiffs who did not seek leave to proceed anonymously

before employing pseudonyms); Doe v. Husband, CIVIL ACTION NO. 4:03cv166,

2004 U.S. Dist. LEXIS 28345 *19 (E.D.Va. Aug. 10, 2004) (“the Court notes that

jurisdictional problems arise when a plaintiff attempts to proceed anonymously

without filing a request with the Court to do so”).

               2.    Appellant Failed To Timely Commence This Lawsuit.

         The Marsh court’s analysis is equally applicable to this matter. The

Complaint in this matter was filed by a pro se plaintiff seeking to proceed

anonymously. However, as in Marsh, Appellant failed to obtain permission from

the District Court before proceeding anonymously. Accordingly, the District Court


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lacked jurisdiction over the Complaint because Appellant had not yet commenced

an action against Appellees and, therefore, the Complaint was properly dismissed.

         The commencement date is critical in this matter because a plaintiff must

exhaust his administrative remedies as “a precondition” to filing a Title VII or ADA

lawsuit. Lockett v. Potter, 259 F. App'x 784, 786 (6th Cir. 2008) (citing McFarland

v. Henderson, 307 F.3d 402, 406 (6th Cir. 2002); Benford v. Frank, 943 F.2d 692,

612 (6th Cir. 1991)); Waller v. Daimler Chrysler Corp., 391 F. Supp. 2d 594, 598

(E.D. Mich. 2005 (administrative requirements apply to ADA claims). Before filing

a discrimination lawsuit, a plaintiff must first file a timely administrative charge with

the EEOC. Williams v. N.W. Airlines, Inc., 53 F. App'x 350, 351-52 (6th Cir. 2002)

(citing 42 U.S.C. § 2000e-5(e)). If the alleged unlawful practice occurred in a

“deferral” state, such as Ohio, the plaintiff must file a charge with the EEOC within

300 days of the alleged discriminatory act. Amini v. Oberlin Coll., 259 F.3d 493,

498 (6th Cir. 2001) (quoting 42 U.S.C. § 2000e-5(e)(1)). Once the EEOC dismisses

a charge and issues a notice-of-right-to-sue, the plaintiff has 90 days to file a civil

action. N.W. Airlines, Inc., 53 F. App'x at 351 (citing 42 U.S.C. § 2000e-5(f)(1)). It

is appropriate to dismiss a Title VII action for failure to timely exhaust

administrative remedies. Id. at 352.

          The right-to-sue letter, as alleged by Appellant, was issued on May 17, 2022.

Based on the date of the right-to-sue letter, Appellant’s Complaint needed to be


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commenced the week of August 15, 2022. However, Appellant’s anonymous filing

did not meet the Rule 3 standard. Accordingly, the Complaint failed as a matter of

law and the District Court’s Dismissal Order was appropriate. See N.W. Airlines,

Inc., 53 F. App'x at 351.

               3.     The Complaint Was Also Properly Dismissed Because
                      Appellant Could Not Meet The Anonymous Standard.
         In order to leave no doubt that Appellant’s filing was inappropriate, Appellees

will address the standard for proceeding anonymously in a federal court lawsuit.

Generally, “it is the exceptional case in which a plaintiff may proceed under a

fictitious name." Doe v. Carson, No. 19-1566, 2020 U.S. App. LEXIS 14520, at *4-

5 (6th Cir. May 6, 2020) (citing Doe v. Frank, 951 F.2d 320, 323 (11th Cir.

1992) (per curiam)).         Federal courts have permitted plaintiffs to proceed

anonymously “‘[w]here the issues involved are matters of a sensitive and highly

personal nature,’ such as birth control, abortion, homosexuality or the welfare rights

of illegitimate children or abandoned families,” in cases in which the plaintiffs “were

challenging the constitutional, statutory or regulatory validity of government

activity.” S. Methodist Univ. Ass’n of Women Law Students v. Wynne & Jaffe, 599

F.2d 707, 712-713 (5th Cir. 1979)) (various citations).

         In Porter, the Sixth Circuit set forth four factors for a district court to consider

when faced with a plaintiff seeking to proceed anonymously: (1) Whether the

plaintiffs seeking anonymity are suing to challenge governmental activity; (2)

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whether prosecution of the suit will compel the plaintiffs to disclose information “of

the utmost intimacy”; (3) whether the litigation compels plaintiffs to disclose an

intention to violate the law, thereby risking criminal prosecution; and (4) whether

the plaintiffs are children. Porter, 370 F.3d at 560.

         In this matter, Appellant is asserting employment claims and he previously

filed a charge of discrimination which would be subject to disclosure through a

freedom of information act request. Appellant is not a child, and he is not

challenging government activity. Rather, Appellant is a physician with a public

license who is asserting run-of-the-mill employment claims. Moreover, Appellant’s

Complaint provides many factual allegations which make it easy for any reader to

identify Appellant’s identify. Finally, the Complaint provides many details and,

therefore, this litigation will not entail Appellant disclosing any facts of utmost

intimacy. Accordingly, even if Appellant properly filed a motion to proceed

anonymously, Appellant cannot meet the Sixth Circuit standards for proceeding in

such a fashion. Therefore, the District Court’s Dismissal Order should be affirmed.

         E.    The Protective Order Should Be Affirmed.

               1.    Rule 26(c)(1).

         As set forth above, the District Court’s Protective Order is analyzed by this

Court using the higher abuse of discretion standard.




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         Rule 26(c)(1) of the Federal Rules of Civil Procedure permits a court to “issue

an order to protect a party or person from annoyance, embarrassment, oppression, or

undue burden or expense.” Fed. R. Civ. P. 26(c); see also Yao v. Oakland Univ.,

No. 2:21-cv-10523, 2022 U.S. Dist. LEXIS 11428, *3 (E.D. Mich. Jan. 20, 2022).

A court will find good cause for the order upon the moving party demonstrating the

facts underlying the need for the order. See Smolko v. Mapei Corp., No. 6:21-cv-25,

2022 U.S. Dist. LEXIS 44090, *8 (E.D. Ky. Feb. 10, 2022).

         Courts within the Sixth Circuit and other Federal Circuits have issued

protective orders pursuant to Rule 26(c)(1) to prohibit pro se plaintiffs from

communicating directly with defendants or other parties to a lawsuit. See, e.g., Yao

v. Oakland Univ., No. 2:21-cv-10523, 2022 U.S. Dist. LEXIS 11428, *3 (E.D. Mich.

Jan. 20, 2022); see also Smolko v. Mapei Corp., No. 6:21-cv-25, 2022 U.S. Dist.

LEXIS 44090, *8 (E.D. Ky. Feb. 10, 2022); Simkus v. United Airlines, No. 13-cv-

04388, 2015 U.S. Dist. LEXIS 26398, *2-3 (N.D. Ill. Mar. 4, 2015).

               2.     Good Cause Existed To Support The Protective Order.

         The District Court’s Protective Order pursuant to Rule 26(c)(1) was

appropriate due to Appellant’s continuous inappropriate, direct communications

with Appellees’ officers and employees. Most relevant to this brief, the district

court in Yao v. Oakland Univ., No. 2:21-cv-10523, 2022 U.S. Dist. LEXIS 11428

(E.D. Mich. Jan. 20, 2022), recently enacted such a protective order because the Yao


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court found that “it is best practice for pro se plaintiffs to communicate directly with

opposing counsel rather than with defendants.” Id. at *3. The court found that such

a practice “promotes efficiency, avoids potential annoyance, confusion, undue

burden, or       harassment toward defendants, and prevents inappropriate

communications between the parties.” Id.

         In this matter, Appellant is a physician and he most certainly can effectively

prosecute this lawsuit through communications with counsel.               However, as

demonstrated in the attached declaration, Appellant has partaken in a prolonged

attack on Appellees and Appellees’ employees. The conduct resulted in a cease and

desist letter being issued to Appellant, but he refused to abide by the request. Rather,

Appellant continued to communicate directly with Appellees’ employees via email,

text and phone.

         Once this lawsuit was filed, Appellant moved to copying Appellees’ Chief

Legal Officer on all communications that were sent to Appellees’ counsel of record.

However, when he desires, Appellant continued to communicate directly with

Appellees’ employees on facts relevant to this lawsuit. Appellant is no longer in

Appellees’ residency program, but Appellant continued his contacts with Appellees’

employees.

         As set forth previously herein, Federal Courts – including the courts within

the Sixth Circuit – issue protective orders pursuant to Rule 26(c)(1) of the Federal


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Rules of Civil Procedure to prohibit pro se plaintiffs from communicating directly

with parties to a lawsuit. Consistent with the decision in Yao v. Oakland Univ., No.

2:21-cv-10523, 2022 U.S. Dist. LEXIS 11428, *3 (E.D. Mich. Jan. 20, 2022), the

United States District Court for the Eastern District of Kentucky issued a similar

order in Smolko v. Mapei Corp., No. 6:21-cv-25, 2022 U.S. Dist. LEXIS 44090, *8

(E.D. Ky. Feb. 10, 2022). There, the Eastern District of Kentucky ordered a pro se

plaintiff from communicating directly with the defendant’s employees and from

serving discovery requests directly to the defendant’s employees. Id. at *8.

         Similarly, the court in Simkus v. United Airlines, No. 13-cv-04388, 2015 U.S.

Dist. LEXIS 26398, *2-3 (N.D. Ill. Mar. 4, 2015), issued a protective order pursuant

to Rule 26(c)(1), holding that “ a former employee suing his former employer pro se

should not communicate with that party about the litigation other than through

counsel.” Id. at *2.

         Although issuing the aforementioned protective orders under Rule 26(c)(1),

the courts in Yao, Smolko, and Simko each firmly held that pro se plaintiffs must

abide by Rule 4.2 of the district’s respective rules of professional conduct, which

preclude attorneys from communicating directly with parties represented by counsel.

Indeed, the courts within the Sixth Circuit hold that:

                “[a]lthough a plaintiff, as a non-attorney, is not
               technically bound by the Rules of Professional Conduct,
               in her capacity as a pro se plaintiff she is nevertheless
               required from directly contacting the named defendants in
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               accordance with Rule 4.2.”
Gaines-Hanna v. Farmington Pub. Sch. Dist., No. 04-CV-74910, 2006 U.S. Dist.

LEXIS 14885, *6-7 (E.D. Mich. Mar. 31, 2006).

         Appellant’s direct communications with Appellees’ officers and employees

clearly violate Rule 4.2 of the Ohio Rules of Professional Conduct and warrant the

issuance of a protective order.

         Finally, the United States District Court for the Middle District of Tennessee

addressed facts strikingly similar to this matter. See Silva v. Aspen, No. 3:21-cv-

689, 2022 U.S. Dist. LEXIS 68300 (M.D. Tenn. Apr. 13, 2022). In Silva, the court

addressed the many lawsuits filed by pro se Plaintiff Silva against various

individuals in various forums arising out of claims related to Taylor Swift. Id. In so

doing, the court discussed the protective order issued to Silva in a related federal

court litigation, which ordered the plaintiff:

               “not to communicate with defendant or affiliated
               companies, agents, or related individuals and, if such
               communication was necessary, contact shall only be made
               in writing through defendant’s counsel, and any
               communications shall not contain any inappropriate
               statements, threats of any kind, or insults…”
Id. at n. 4.

         Appellant’s tactics are similar to the tactics in Silva. Appellant has filed

numerous state and federal charges and he has pursued these charges relentlessly.

While proceeding anonymously in this lawsuit, Appellant has communicated

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directly with Appellees’ employees under his true identity. Finally, it is evidently

clear that Appellant’s desire is to damage Appellees; not to remedy any alleged

wrongs. Appellant’s conduct is intentional and designed to increase litigation costs

and to cause maximum disruption within the hospital.

         Appellant fails to identify any facts or authority to support any finding that

the District Court relied upon clearly erroneous findings of fact, or that it improperly

applied the law or used an erroneous legal standard. Accordingly, the District Court

did not abuse its discretion in issuing the Protective Order.

V.       CONCLUSION

         Based on the above-cited arguments and authorities, the District Court

properly dismissed Appellant’s Complaint and issued the Protective Order and

Reconsideration Order. Therefore, the Dismissal Order, Protective Order, and

Reconsideration Order are proper and should be affirmed and this matter concluded.

                                         Respectfully submitted,

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                        CERTIFICATE OF COMPLIANCE

         Appellees certify that this Brief contains 7,233 words, excluding the Table of

Contents and Table of Authorities and, therefore, complies with Fed. App. Rule

32(a)(7)(A) and 6. Cie. R. 32(a), (b).

                                                 /s/ David A. Campbell
                                                 David A. Campbell (0066494)

                                                One of the Attorneys for Appellees




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                          CERTIFICATE OF SERVICE

         I hereby certify on this 15th day of November, 2023, the foregoing was filed

through the Court’s CM/ECF electronic filing system and will be served upon Pro

Se Appellant John Koe via email at john@johnkoe.org and via regular U.S. mail to

John Koe, P.O. Box 527, Novelty, OH 44072.

                                               /s/ David A. Campbell
                                               David A. Campbell (0066494)

                                               One of the Attorneys for Appellees




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                  ADDENDUM: DESIGNATION OF DOCUMENTS


    1. RE 1, Complaint, PageID # 1-17

    2. RE 3, Motion to Dismiss, PageID # 20-32

    3. RE 5, Motion for Protective Order, PageID # 36-93

    4. RE 6, Protective Order, PageID # 94-95

    5. RE 7, Dismissal Order, PageID # 96-101

    6. RE 9, Motion for Reconsideration, PageID # 103-124

    7. RE 10, Reconsideration Order, PageID # 125-126




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